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                      EXHIBIT B
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   Lordstown Motors Corp (DE)                                                                      120360.0001.8/4879069
   Lordstown Motors Corp.



                                     DISBURSEMENTS AND OTHER CHARGES


   Date:       Description:                                                                                  Amount:

Dec 11, 2023   Filing Fee                                                                                        $ 25.00
               COURTS/USDC-DE - Pro Hac Filing Fee for Samantha Ruben

                                                                             Total Disbursements:                $ 25.00


                 Any disbursement appearing on our statements as Business Meals and Entertainment is
                 stated at cost. The Revenue Reconciliation Act of 1993 reduced the deductibility of these
                 expenses to you from 80% to 50%. We maintain the supporting documentation for these
                 costs and will make the documentation available to you upon request.
